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 9                                 UNITED STATES DISTRICT COURT
10                              NORTHERN DISTRICT OF CALIFORNIA
11                                       SAN FRANCISCO DIVISION
12
     IN RE: VOLKSWAGEN “CLEAN          Case No. 3:15-md-02672-CRB
13   DIESEL” MARKETING, SALES
     PRACTICES, AND PRODUCTS LIABILITY CLASS ACTION
14   LIGITATION
                                       PLAINTIFFS’ CONSOLIDATED CLASS
15                                     ACTION COMPLAINT
16                                                          1) Breach of Contract
17   This Document Relates To:
                                                            2) Negligent Interference with Prospective
18   Saavedra, et al. v. Volkswagen                            Economic Advantage
     Aktiengesellschaft, et al.,
19      Case No. 3:16-cv-07214-CRB                          3) Fraud

20   Gaines v. Volkwagen Group of America, Inc.,            4) Violation of Racketeer Influenced And
       Case No. 3:17-cv-01114-CRB                              Corrupt Organizations Act 18 U.S.C. §
21                                                             1962(c)-(d) (“RICO”)
22
23                                                          DEMAND FOR JURY TRIAL
24
25
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28                                  CONSOLIDATED CLASS ACTION COMPLAINT
                  Saavedra, et al. v. Volkswagen Aktiengesellschaft, et al., Case No. 3:16-cv-07214-CRB
                       Gaines v. Volkwagen Group of America, Inc., Case No. 3:17-cv-01114-CRB
                                            Lead Case No. 3:15-md-02672-CRB
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 1          Plaintiffs Robert Saavedra, Armando Rodriguez and Mickey Gaines (referred to as
 2 “Plaintiffs”), by their attorneys individually, on behalf of themselves and on behalf of all others
 3 similarly situated (the “VW Commissioned Vehicle Sales Representatives”) bring this complaint
 4 against Defendants collectively known as “Volkswagen”: Volkswagen Aktiengesellschaft (“VW
 5 AG”), Volkswagen Group of America, Inc. (“VW America”) (together, “VW”), Audi
 6 Aktiengesellschaft (“Audi AG”), Dr. Ing. h.c. F. Porsche Aktiengesellschaft (“Porsche AG”), Martin
 7 Winterkorn (“Winterkorn”), Matthias Müller (“Müller), , and Rupert Stadler (“Stadler”); and (2) the

 8 Defendants collectively known as “Bosch”: Robert Bosch GmbH, Robert Bosch LLC, and Volkmar
 9 Denner for violations of deceptive acts and practices and common law claims. Plaintiffs allege,
10 upon personal knowledge and belief as to their own acts, and upon information and belief (based
11 upon the investigation of counsel) as to all matters to which allegations Plaintiffs believe substantial
12 evidentiary support will exist after a reasonable opportunity for further investigation and discovery
13 on behalf of themselves and all others similarly situated as follows:
14                                           INTRODUCTION
15          1.     Volkswagen flouted the laws of the United States, pursuant to the publicly known
16 "Dieselgate scandal" which has proven to have a substantial impact on the Volkswagen brand value
17 and the sales of vehicles for which the individual vehicle sales representatives are commissioned.
18 Volkswagen engaged in the fraudulent and deliberate use of a "defeat device," a secret software
19 algorithm that was designed and installed to cheat emission tests. The “defeat device” was designed
20 and installed in Volkswagen diesel automobiles to dupe the Environmental Protection Agency
21 ("EPA"), among other regulators, into approving the sale of non-compliant cars ("Defective
22 Vehicles"). To do this, the “defeat device” detects when diesel engines are being tested in laboratory
23 conditions and triggers functions that sacrifice performance in favor of limited emissions, bringing
24 total emissions in line with regulatory requirements. In normal use, the automobile performs at a
25 higher level and emits pollutants in quantities well in excess of the legal limit. As such, the
26 Defective Vehicles cannot be legally operated in the United States.
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 1          2.     For years, Volkswagen's use of the “defeat device” went undetected.         Defective
 2 Vehicles were sold into the stream of commerce. Indeed, Volkswagen advertised itself as an
 3 innovator in "clean" diesel technology.
 4          3.     Volkswagen's “defeat device” scheme ultimately backfired. In the fall of 2015,
 5 following pressure from regulators, Volkswagen admitted to the use and function of defeat devices.
 6 Volkswagen further admitted that millions of cars worldwide have defeat device software.
 7 Volkswagen's defeat device scheme ultimately led to a host of legal actions. For example, several

 8 Volkswagen entities entered into, and a Federal Court approved, a class action settlement agreement
 9 between, inter alia, several Volkswagen entities and a class of consumers.          The class action
10 settlement provides consumers with the opportunity to sell back or modify specified Volkswagen
11 automobiles from model years spanning from 2009 to 2015.
12          4.     By manufacturing and selling cars with defeat devices that allowed for higher levels
13 of emissions than was certified to the Environmental Protection Agency (“EPA”), and higher levels
14 than state and federal regulations allow, Volkswagen violated the Clean Air Act and state
15 environmental regulations, defrauded the public, and engaged in unfair competition under state and
16 federal laws.
17          5.     This case arises because the Volkswagen emission fraud has also caused harm to the
18 hard-working men and women who make their livelihood selling vehicles in the Volkswagen brand.
19 Indeed, the resulting drop in the value of the vehicles affected by “Dieselgate” and the diminution of
20 the Volkswagen brand more generally has caused direct and quantifiable harm to Plaintiffs and the
21 Class. As a result of this scheme, consumers across the nation came to associate the Volkswagen
22 brand with the Defective Vehicles and fraudulent conduct, and sales persons ("SPs") across the
23 nation experienced a sudden drop in customer inquiries, potential sales, and, ultimately, personal
24 income.
25          6.     As a direct and foreseeable result of the unlawful Volkswagen emission fraud, the
26 Volkswagen salespersons such as Plaintiffs have been harmed in their business in the form of
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 1 reduced sales, diminished inventories, lost commissions and being charged with the responsibility of
 2 selling a product which essentially cannot be sold.
 3          7.     On behalf of themselves and a Class of all SPs in all 50 states and the District of
 4 Columbia, Plaintiffs hereby bring this action for violations of the federal Racketeer Influenced and
 5 Corrupt Organizations Act (18 U.S.C. §§ 1961 et seq. (“RICO”)) and for common law breach of
 6 contract, fraud, and negligent interference with prospective economic advantage. Plaintiffs seek to
 7 recover monetary damages (including treble damages under RICO) for their lost compensation and

 8 business caused by the defeat device fraud.
 9                                                   PARTIES
10          8.     Plaintiff Robert Saavedra (“Plaintiff Saavedra”) is an individual over the age of
11 eighteen, and, at all times mentioned in this Complaint, was a resident of the County of Los Angeles,
12 State of California. Plaintiff Saavedra has worked as a SP at car dealerships selling Volkswagen
13 automobiles since approximately 2010. He has also been certified as a SP throughout that time
14 period. As such, he receives incentive compensation from VW America for each Volkswagen
15 automobile he sells. He also receives compensation from other sources tied to the number of
16 Volkswagen automobiles he sells.
17          9.     Plaintiff Armando Rodriguez (“Plaintiff Rodriguez”) is an individual over the age of
18 eighteen, and, at all times relevant to this Complaint, was a resident of the County of Los Angeles,
19 State of California. Plaintiff Rodriguez worked at car dealerships selling Volkswagen automobiles
20 between approximately June 2013 and July 2016.           Plaintiff Armando Rodriguez obtained his
21 certification as a SP in or around the beginning of 2014. As such, he received compensation from
22 VW America for each Volkswagen automobile he sold as a SP. He also received compensation
23 from other sources tied to the number of Volkswagen automobiles he sold.
24          10.    Plaintiff Mickey Gaines (“Plaintiff Gaines”) is an individual over the age of eighteen,
25 and, at all times relevant to this Complaint, was a resident of the County of Los Angeles, State of
26 California. Plaintiff Gaines is employed as a commissioned VW sales representative for Livingston
27 VW, Inc., located at 21141 Ventura Blvd, Woodland Hills, CA. 91364. Plaintiff has been employed

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 1 by Livingston VW, Inc., since in or about 2011. He has also been certified as a SP throughout that
 2 time period. As such, he receives incentive compensation from VW America for each Volkswagen
 3 automobile he sells. He also receives compensation from other sources tied to the number of
 4 Volkswagen automobiles he sells. During his employment, Plaintiff Gaines has cultivated a loyal
 5 customer base which has resulted in sales of vehicles to repeat customers.
 6          11.    Defendant VW AG is a German corporation with its principal place of business in
 7 Wolfsburg, Germany. VW AG is in the business of designing, developing, manufacturing, and

 8 selling automobiles. On information and belief, VW AG is the parent company of VW America,
 9 Audi AG, and Porsche AG. According to VW AG, it sold 10.14 million cars worldwide in 2014—
10 including 6.12 million VW-branded cars, 1.74 million Audi-Branded cars, and 189,849 Porsche-
11 branded cars.     Combined with other brands, VW AG boasts a 12.9% share of the worldwide
12 passenger car market. VW AG’s sales revenue in 2014 totaled €202 billion (approximately $221
13 billion) and sales revenue in 2013 totaled €197 billion (approximately $215 billion). At €12.7
14 billion (approximately $13.9 billion), VW AG generated its highest ever operating profit in fiscal
15 year 2014, beating the previous record set in 2013 by €1.0 billion (approximately $1.1 billion).
16          12.    On information and belief, VW AG engineered, designed, manufactured, and
17 installed the “defeat device” software in Defective Vehicles and exported these vehicles with the
18 knowledge and understanding that they would be sold throughout the United States. On information
19 and belief, VW AG also developed, reviewed, and approved marketing and advertising campaigns
20 designed to sell the Defective Vehicles.
21          13.    Volkswagen Group of America, Inc. ("VW America") is a corporation doing business
22 including, the advertising, marketing and sale of Volkswagen automobiles, in all 50 states (including
23 the District of Columbia) and is organized under the laws of the State of New Jersey, with its
24 principal place of business located at 2200 Ferdinand Porsche Dr., Herndon, Virginia 20171. VW
25 America is a wholly-owned subsidiary of Volkswagen AG, and it engages in business, in all 50
26 states. In 2014 alone, VW America sold 552,729 vehicles from its 1,018 dealer locations in all 50
27 states, including 95,240 TDI®"clean" diesel vehicles. These vehicles were sold by commissioned

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 1 sales representatives. On information and belief, VW America is a wholly-owned subsidiary of VW
 2 AG.
 3         14.     Defendant Audi AG is a German corporation with its principal place of business in
 4 Ingolstadt, Germany. On information and belief, Audi AG is the parent of Audi America, and a
 5 subsidiary of the Audi Group, which is a wholly-owned subsidiary of VW AG. Audi AG designs,
 6 develops, manufactures, and sells luxury automobiles.       On information and belief, Audi AG
 7 engineered, designed, developed, manufactured, and installed defect device software in Defective

 8 Vehicles and exported those vehicles with the knowledge and understanding that they would be sold
 9 throughout the United States. On information and belief, Audi AG also developed, reviewed, and
10 approved the marketing and advertising campaigns designed to sell Defective Vehicles.
11         15.     Defendant Porsche AG is a German corporation with its principal place of business
12 located in Stuttgart, Germany.    Porsche AG designs, develops, manufactures, and sells luxury
13 automobiles. On information and belief, Porsche AG is a wholly-owned subsidiary of VW AG. On
14 information and belief, Porsche AG installed “defeat device” software on Defective Vehicles,
15 exported those vehicles with the knowledge and understanding that they would be sold throughout
16 the United States. On information and belief, Porsche AG also developed, reviewed, and approved
17 the marketing and advertising campaigns designed to sell Defective Vehicles.
18         16.     Defendant Martin Winterkorn is a resident of Germany. Winterkorn was CEO of VW
19 AG until he resigned on September 23, 2015 in the wake of the diesel emissions scandal.
20 Winterkorn profited from the illegal scheme and course of conduct based on the revenues and profits
21 from the Defective Vehicles, and Volkswagen’s increased market share. On information and belief,
22 Winterkorn approved, authorized, directed, ratified, and/or participated in the acts complained of
23 herein. Winterkorn is subject to the personal jurisdiction of this Court because he has availed
24 himself of the laws of the United States through his management and control over VW America as
25 well as the manufacture, distribution, testing, and sale of Defective Vehicles imported and sold
26 across the United States.
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 1          17.     Defendant Matthias Müller is a resident of Germany. Müller has held many different
 2 positions at Volkswagen. In 2007, Winterkorn appointed Müller as Head of Product Management
 3 across all Volkswagen brands. In 2010, Müller was appointed CO of Porsche AG. Müller became
 4 CEO of VW AG following Winterkorn’s resignation. Müller profited from the illegal scheme and
 5 course of conduct based on the revenues and profits from the Defective Vehicles and Volkswagen’s
 6 increased market share. On information and belief, Müller approved, authorized, directed, ratified,
 7 and/or participated in the acts complained of herein. Müller is subject to the personal jurisdiction of

 8 this Court because he has availed himself of the laws of the United States through his management
 9 and control of various Volkswagen entities, as well as the design, manufacture, distribution, testing,
10 and/or sale of Defective Vehicles imported and sold across the United States.
11          18.     Defendant Rupert Stadler is a resident of Germany. Stadler became CEO of Audi AG
12 in or around January 2010. Stadler held numerous other positions within Audi AG. Stadler profited
13 from the illegal scheme and course of conduct based on the revenues and profits from the sale of
14 Defective Vehicles and Volkswagen’s increased market share. On information and belief, Stadler
15 approved, authorized, directed, ratified, and/or participated in the acts complained of herein. Stadler
16 is subject to the personal jurisdiction of this Court because he has availed himself of the laws of the
17 United States through his management and control over Audi America as well as the design,
18 manufacture, distribution, testing, and/or sale of Defective Vehicles imported and sold across the
19 United States.
20          19.     Defendant Robert Bosch GmbH is a German multinational engineering and
21 electronics company headquartered in Gerlingen, Germany.           Robert Bosch GmbH is a parent
22 company of Robert Bosch LLC. On information and belief, Robert Bosch GmbH, directly and/or
23 through its North-American subsidiary Robert Bosch LLC, at all material times, designed,
24 manufactured, and supplied elements of the “defeat device” to Volkswagen for use in the Defective
25 Vehicles.
26          20.     Defendant Robert Bosch LLC is a Delaware limited liability company with its
27 principal place of business in Farmington Hills, Michigan. Robert Bosch LLC is a wholly-owned

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 1 subsidiary of Robert Bosch GmbH. On information and belief, Robert Bosch LLC, directly and/or
 2 in conjunction with its parent Robert Bosch GmbH, at all material times, designed, manufactured,
 3 and supplied elements of the “defeat device” to Volkswagen for use in the Defective Vehicles.
 4          21.    Defendant Volkmar Denner is a resident of Germany. Denner has been the CEO of
 5 Robert Bosch GmbH since approximately July 2012. Denner has held numerous positions within
 6 the company since 1986. Denner profited from the illegal scheme and course of conduct based on
 7 the revenues and profits from the sale of “defeat devices” to Volkswagen. On information and

 8 belief, Denner approved, authorized, directed, ratified, and/or participated in the acts complained of
 9 herein. Denner is subject to the personal jurisdiction of this Court because he has availed himself of
10 the laws of the United States through his management and control over Robert Bosch LLC, as well
11 as the design, manufacture, distribution, testing, and/or sale of elements of the “defeat devices”
12 installed in Defective Vehicles.
13          22.    Defendants were and are at all times relevant to the allegations in this complaint
14 working in concert under the common objective to engage in the emissions scheme described in this
15 complaint. Each of the Defendants were and are the agents of each other and have acted and act for
16 their common goals and profit. Therefore, all acts and knowledge ascribed to one of the Defendants
17 are properly imputed to the other.
18          23.    Plaintiffs are informed and believe, and thereon allege, that Defendants, at all times
19 herein mentioned, were the partners, joint venturers, subsidiaries, successors in interest, managing
20 agent, merged entities, agents, alter egos, part of a jointly owned, managed, and/or operated business
21 enterprise, and/or employees of each other Defendant and in doing the acts, omissions, and things
22 alleged herein were acting as such and within the scope of their authority as such agents and
23 employees and with the permission and consent of all other Defendants. Plaintiffs are informed and
24 believe, and thereon allege, that Defendants have, and at all times herein mentioned had, a joint
25 economic and business interest, goal and purpose in the Duo matchmaking services that are the
26 subject of this lawsuit.
27                                               JURISDICTION

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 1          24.     This Court has federal question jurisdiction under 28 U.S.C. § 1331 based upon
 2 Plaintiffs’ federal RICO claims. The Court has supplemental jurisdiction over Plaintiffs’ state law
 3 claims pursuant to 28 U.S.C. § 1367. The Court also has jurisdiction over this action pursuant to the
 4 Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1332(d), because at least one Class member is of
 5 diverse citizenship from one Defendant, there are more than 100 Class members, and the aggregate
 6 amount in controversy exceeds $5,000,000.00, exclusive of interest and costs.          The Court has
 7 personal jurisdiction over Defendants pursuant to 18 U.S.C. § 1965(b), (d) and Cal. Code Civ. P. §

 8 410.10.
 9                                                   VENUE
10          25.     Venue is proper under 28 U.S.C. § 1391(b), because a substantial part of the events or
11 omissions giving rise to Plaintiffs’ claims occurred in this District. Volkswagen has marketed,
12 advertised, sold, and leased Defective Vehicles, and Defendants otherwise conducted extensive
13 business, in this District.     Moreover, multidistrict litigation involving the similar claims of
14 consumers who purchased Defective Vehicles was venued in this District.
15                                      INTRADISTRICT ASSIGNMENT
16          26.     This action is properly assigned to the San Francisco Division of this District
17 pursuant to N.D. Cal. L.R. 3-2 because a substantial part of the events or omissions giving rise to
18 Plaintiffs’ claims arose in the counties served by the San Francisco Division. Volkswagen conducts
19 substantial business in the counties served by this Division, has marketed, advertised, sold, and
20 leased automobiles in those counties, and has caused harm to Class members residing in those
21 counties.      Moreover, multidistrict litigation involving the similar claims of consumers who
22 purchased Defective Vehicles was assigned to the San Francisco Division of this district.
23                                         FACTUAL ALLEGATIONS
24          The “Clean Diesel” Emission Fraud Scandal
25          27.     To sell automobiles in the United States, Volkswagen is required to comply with the
26 emission standards and to obtain an EPA-administered Certificate of Conformity (“COC”).
27 Volkswagen sought to compete in the evolving market for environmentally-friendly vehicles through

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 1 the use of turbocharged direct injection (“TDI”) engines, which were purported to provide high
 2 performance while limiting harmful emissions. Volkswagen’s TDI diesel engines were anticipated
 3 to fuel Volkswagen’s growth and success in the United States.
 4          28.    Volkswagen’s TDI diesel engines in many of Volkswagen’s automobiles did not meet
 5 the required emission standards. Rather than meet the standards, Defendants conspired to cheat the
 6 system by installing a “defeat device” in their diesel vehicles so that the vehicles could pass
 7 mandatory emission testing at lower performance levels while performing at a higher level in normal

 8 road use, albeit with unlawful emission levels. Volkswagen’s fraud began in at least 2009, if not
 9 sooner, when Defective Vehicles first were released in the United States.
10          29.    The engines in Volkswagen’s automobiles are integrated with sophisticated computer
11 components to manage the vehicle’s operation, such as an electronic diesel control (“EDC”) system.
12 In simplistic terms, the software detects when the vehicle is undergoing emissions testing and
13 engages full emissions controls during the test. But otherwise, at all other times that the vehicle is
14 running, the emissions controls are suppressed.       Thus, the Defective Vehicles meet emissions
15 standards in the laboratory or testing station, but during normal operation emit nitrogen oxides
16 (NOx) at up to 40 times the standard allowed under federal and state laws and regulations. It is a
17 defeat device as defined by the Clean Air Act.
18          30.    Bosch tested, manufactured, and sold the EDC system used by Volkswagen in the
19 Defective Vehicles. Together, Bosch and Volkswagen developed and implemented the EDC system
20 to automatically and surreptitiously detect emission testing, and then to downgrade the engine’s
21 power and performance while upgrading the performance of the emission control system to bring
22 emissions under the legal limit. Under normal conditions, the EDC system allows emissions to
23 exceed the legal limit, enabling increased performance. Bosch was aware that Volkswagen was
24 using its emission control components as a defeat device and worked with Volkswagen to develop
25 the software algorithm specifically tailored for the Defective Vehicles.
26          31.    In this manner, Volkswagen fraudulently obtained COCs from the government
27 regulators. The Defective Vehicles were not legal for sale and did not meet mandatory emission

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 1 standards. In affirmatively concealing this fact, Volkswagen lied to the government, its customers,
 2 its SPs, and the public at large.
 3          Volkswagen Aggressively Marketed the Defective Vehicles
 4          32.    While Volkswagen's clean diesel wasn't the technological marvel it appeared to be,
 5 the marketing campaign for it was a juggernaut, helping to move more than half a million diesel
 6 vehicles over seven years with a combination of Super Bowl commercials, social-media messages
 7 and print advertising costing tens of millions of dollars.

 8          33.    Indeed, Volkswagen consistently disseminated misrepresentations about the Affected
 9 Vehicles through various media platforms including the internet, radio, television and print
10 advertising which were intended to mislead regulators and the public about the fuel efficiency,
11 emissions standards, and other performance metrics of such vehicles.
12          34.    Starting in 2009, Volkswagen embarked on a massive North American campaign to
13 promote clean diesel. The "Truth & Dare" effort, as VW's VP of Marketing put it to AdWeek, was
14 about "debunking the myths on clean diesel and fueling the passion of existing diesel owners.
15          35.    The 2014 and 2015 ads featuring the "old wives" who gab on about diesel and Italian
16 deli meats were probably the most effective, in the sense that they are memorable. Most viewer can
17 recall, their famous linen scarf demonstration whereby the "old wives" put their white linens against
18 a Sportswagon's exhaust to prove its cleanliness.
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 1         36.     Indeed, throughout the Dieselgate time period, Volkswagen ran ads touting the
 2 Affected Vehicles fuel efficiency and environmentally friendly attributes:
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            37.     Volkswagen knew that consumers, regulators, Plaintiffs and the members of the
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     Class, would reasonably rely on the material misrepresentations and omissions made by them about
11
     the Affected Vehicles. Indeed, as fully alleged herein, Plaintiffs and the members of the Class did, in
12
     fact rely upon such misrepresentations in staking their business and economic well-being to the
13
     success of Volkswagen.
14
            38.     Ultimately, Volkswagen’s success was in creating the niche Clean Diesel market and
15
     exploiting it. While hiding its wrongdoing from regulators, the public, and SPs alike, Volkswagen
16
     affirmatively represented in its branding and advertisements that it had developed “Clean Diesel”
17
     TDI technology. Volkswagen spent years touting the high performance and low emissions of its
18
     “Clean Diesel” vehicles.
19
            39.     In response to Volkswagen's aggressive advertising of "Clean" diesel, consumers
20
     bought them in record numbers. Volkswagen has sold more diesel cars in the United States than
21
     every other brand combined. However, half a million cars running this emissions setup should never
22
     have left the factory.
23
            Exposure of the Fraud and Consumer Fall Out
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            40.     The truth, as it so often does, ultimately became public.         In September 2015,
25
     Volkswagen admitted the true function of its defeat device to regulators. That same month, the EPA
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     determined that Volkswagen’s conduct violated the Clean Air Act. This revelation ballooned into a
27
     scandal, including a flood of consumer protection litigation. For example, a settlement agreement
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 1 between several Volkswagen entities and consumers provides for consumers to sell automobiles
 2 from 2009 to 2015 back to those Volkswagen entities, or to have those automobiles retrofitted to
 3 come into compliance with the law.
 4          41.    Volkswagen’s monumental fraud in the certification of its so-called “Clean Diesel”
 5 automobiles in the U.S. and worldwide through the use of illegal “defeat devices” was certainly the
 6 most significant event in the automotive industry in the last decade, and one of the most significant
 7 environmental crimes in history. As stated by Cynthia Giles, Assistant Administrator for the Office

 8 of Enforcement and Compliance Assurance at the EPA: “Using a defeat device in cars to evade clean
 9 air standards is illegal and a threat to public health.” Volkswagen used the defeat device in its 2009-
10 2015 Volkswagen, Audi, and Porsche Clean Diesel vehicles.            The defeat device at issue was
11 supplied to Volkswagen by Defendant Robert Bosch GmbH (“Bosch”). Everything about
12 Volkswagen’s fraudulent scheme was coolly calculated, as Michael Horn, the newly departed CEO
13 of VW America, confessed in the fall of 2015 at Congressional hearings: “[the defeat device] was
14 installed for this purpose, yes.”
15          42.    Since the confirmation of Volkswagen’s scheme, the U.S. DOJ and at least 45 state
16 attorneys general have announced they are investigating Volkswagen’s misconduct. The Federal
17 Trade Commission has separately sued Volkswagen for fraudulent advertising; and other criminal
18 and civil investigations are underway across the globe.
19          43.    This case arises because the Volkswagen emissions fraud has also caused great harm
20 to VW Commissioned Vehicle Sales Representatives, like Plaintiffs whose profits have been erased
21 and whose commissions have plummeted in value due to the inability to sell tens of thousands of
22 vehicles and the significant decline in brand value for all Volkswagen vehicles as a result of
23 Volkswagen’s purposeful fraud and deceit.
24          The Effect of the Scandal on SPs
25          44.    SPs, including Plaintiffs, were among the members of the public taken in by
26 Volkswagen's global fraud.
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 1          45.    SPs obtain certification from Volkswagen to sell Volkswagen automobiles.               In
 2 exchange, SPs are paid incentive compensation for each Volkswagen automobile they sell. SPs also
 3 receive compensation from other sources for selling Volkswagen automobiles, as Volkswagen is
 4 aware.
 5          46.    SPs are paid on an essentially "commission only" pay plan. This means if they do not
 6 sell a car, they do not get paid more than a miniscule salary (i.e. $1,000 dollars per month). SPs
 7 commission are determined based upon a set formula.               Specifically, the majority of the
 8 compensation received by SPs derives from a percentage payment (ranging between 25% and 30% )
 9 of the "front end" profits from the sale of the vehicles. The "front end" is the difference between the
10 dealer's invoice cost and the amount the customer actually paid for the vehicle.
11          47.    Where SPs sell a vehicle at or below the cost or invoice price, they are guaranteed a
12 payment in an amount of or about $150.00.
13          48.    SPs are also compensated for bonuses based upon a non-discretionary bonus matrix.
14 Under such matrix, SPs will receive a lump sum bonus payment if they are able to sell a target
15 number of vehicles in a given month. For example, if one of the Plaintiffs sells twelve (12) vehicles
16 in a given month he is entitled to a lump sum payment of $500.00. This payment is increased as the
17 SPs hit higher target numbers.
18          49.    Additionally, programs such as the "Fast Start" program provide further opportunities
19 for SPs to earn compensation. Such programs are, again, tethered, directly to the Volkswagen's
20 Commissioned Sales Representatives' volume of sales in a given time period. For example, the "Fast
21 Start" program provides a lump sum monetary payment to Volkswagen's Commissioned Sales
22 Representatives who sell a given number of vehicles within the first fifteen (15) days of the month.
23          50.    Another component of the compensation provided to SPs comes directly from
24 Volkswagen. This includes payments for each sale made as well as VW Elite cash bonus incentives.
25          51.    By contractual agreement, these VW Elite cash bonus incentives are provided directly
26 to the commissioned sales representatives by Volkswagen by electronic fund transfer onto Visa
27 credit cards.

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 1          52.    These VW Elite cash bonus incentives are based on Customer Service Index or "CSI"
 2 performance.      CSI is a VW corporate monitored performance of behavior which measures the
 3 manner in which commissioned sales representative represent the product and, more broadly, the
 4 VW brand to the consumer.
 5          53.    Plaintiffs obtained their certification to sell Volkswagen automobiles in or around
 6 2010, 2014, and 2011 respectively.        Plaintiff Saavedra received incentive compensation from
 7 Volkswagen for the sales of Volkswagen automobiles he made throughout the time period from

 8 2010 to the present. Plaintiff Rodriguez received incentive compensation from Volkswagen for the
 9 sales of Volkswagen automobiles he made throughout the time period between early 2014 and July
10 2016.     Plaintiff Gaines received incentive compensation from Volkswagen for the sales of
11 Volkswagen automobiles he made throughout the time period from 2011 to the present.
12          54.    Plaintiffs also received compensation from other sources tied to the number of
13 Volkswagen automobiles they sold during the same, respective, periods.
14          55.    Once the "Dieselgate" scandal went public in 2015, the value of the Volkswagen
15 brand was greatly diminished, sales of VW diesels were completely halted, and sales of all VW
16 plummeted. In November of 2015, Forbes reported that Volkswagen's passenger brand witnessed a
17 fall of 5.3% in vehicle deliveries worldwide in the month of October, bringing the year-to-date drop
18 in sales to 4.7%. This brand alone constitutes approximately 60% of the net volumes for the group,
19 and thus the continual slowdown in sales for the namesake passenger brand is weighing on the
20 group's overall performance.
21          56.    In July of 2016, Bloomberg reported that sales of Volkswagen vehicles tumbled 17%
22 in May of that year. The Jetta line, the brand's best-selling models, fell 22% from a year earlier while
23 the Passat dropped 14%.
24          57.     Indeed, Volkswagen AG admitted that its world-wide sales declined in 2015 for the
25 first time since 2002. December sales dropped 5.2% to 834,800 vehicles, while full-year sales
26 declined 2% to 9.9 million cars.
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 1          58.    Given the compensation structure of SPs which was based in many ways upon sales
 2 volume, such losses directly resulted in decreased commissions for Plaintiffs and the Class.
 3          59.    By becoming SPs, individuals stake their livelihood and their reputation to
 4 Volkswagen.
 5          60.    Volkswagen's emission fraud resulted in thousands of defrauded and disgruntled
 6 customers. Such consumers felt betrayed, not only by Volkswagen at large but specifically by the
 7 man or woman from whom they directly interacted in the purchase of their vehicles. Volkswagen's

 8 SPs are the face of Volkswagen to the customers. The relationships which had been cemented
 9 through the hard work and fair dealings of the SPs were poisoned by the bad acts of Volkswagen
10 such that loyal customers were driven away from the brand and transformed from referral sources to
11 vocal detractors.
12          61.    Volkswagen provided its SPs with no guidance regarding the "Dieselgate" scandal
13 keeping them in the dark about all issues including potential repairs/fixes for the Affected Vehicles,
14 loaner vehicles for customers with Affected Vehicles, the legality of driving the Affected Vehicles in
15 the customers respective states, vehicle buy-back options or other potential remedies. For many
16 months following the scandal Volkswagen provided customers affected by the scandal no
17 satisfactory option for redress.
18          62.    These irate customers, have little relationship with Volkswagen save through their
19 interactions with employees at the dealership level-particularly the SPs. As such, Plaintiffs and the
20 members of the Class found themselves on the receiving end of inquiries and complaints from irate
21 customers.     Unable to provide the much-needed information and guidance further eroded the
22 goodwill and previously cultivated trustworthy reputations of the SPs.
23          63.    Less vocal customers "voted-with-their-feet" as visits to the dealership sharply
24 decreased, sales premiums and promotions vanished, and profits eroded.
25          64.    SPs were unaware that Volkswagen was selling Defective Vehicles through an
26 organized scheme intended to defraud the government regulators, consumers, SPs, and the public at
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 1 large.    SPs would not have become SPs, and would not have sold Volkswagen automobiles,
 2 including Defective Vehicles, had they known of Volkswagen's unlawful scheme.
 3          65.     Accordingly, SPs, who have bound their livelihood to the Volkswagen brand, have
 4 seen a sharp decrease in their compensation, including in the incentive payments they receive from
 5 Volkswagen and other compensation from other sources. Plaintiffs, for their part, have seen a
 6 substantial decrease in their sales and compensation in the time period since the fraud became
 7 public. These concrete and tangible economic losses are caused by Volkswagen’s scheme to defraud

 8 government regulators, SPs, and the public at large, in which Bosch was complicit.
 9          Tolling Of The Statute Of Limitations
10          Discovery Rule Tolling
11          66.     Plaintiffs and SPs had no way of knowing about Volkswagen’s deception with respect
12 to its Clean Diesel engine system and “defeat device.” It took federal EPA and California Air
13 Resources Board (“CARB”) investigations to uncover Volkswagen’s deception, which involved
14 sophisticated software manipulation on Defendants’ part. As reported by the Los Angeles Times on
15 September 18, 2015, it took CARB testing on a special dynamometer in a laboratory, open road
16 testing using portable equipment, and the use of special testing devised by the Board to uncover
17 Volkswagen’s scheme and to detect how software on the engine’s electronic control module was
18 deceiving emissions certifications tests. Plainly, Volkswagen was intent on expressly hiding its
19 behavior from regulators, consumers, dealerships, SPs, and everybody including the general public.
20          67.     Within the time period of any applicable statutes of limitation, Plaintiffs and SPs
21 could not have discovered through the exercise of reasonable diligence that Volkswagen was
22 concealing the conduct complained of herein and misrepresenting the Company’s true position with
23 respect to the emission qualities of its vehicles.
24          68.     Plaintiffs and the other SPs did not discover, and did not know of facts that would
25 have caused a reasonable person to suspect, that Volkswagen did not report information within its
26 knowledge to federal and state authorities, its dealerships, its commissioned sales representatives, or
27 consumers; nor would a reasonable and diligent investigation have disclosed that Volkswagen had

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 1 information in its possession about the existence of its sophisticated emissions scheme and that it
 2 opted to conceal that information, which was discovered by Plaintiffs only when an admission was
 3 made by Defendants. Nor in any event would such an investigation on the part of Plaintiffs and
 4 other SPs have disclosed that Volkswagen valued profits over compliance with federal and state law,
 5 or the trust that Plaintiffs and other SPs had placed in its representations, or that, necessarily,
 6 Volkswagen actively discouraged its personnel from raising or disclosing issues with regard to the
 7 true quality and quantity of the emissions, and the emissions software, of its vehicles, or of

 8 Volkswagen’s emissions scheme.
 9            69.   For these reasons, all applicable statutes of limitation have been tolled by operation of
10 the discovery rule with respect to claims as to all vehicles identified herein.
11            Fraudulent Concealment Tolling
12            70.   All applicable statutes of limitation have also been tolled by Volkswagen’s knowing
13 and active fraudulent concealment and denial of the facts alleged herein throughout the time period
14 relevant to this action.
15            71.   Instead of disclosing its emissions scheme, or that the quality and quantity of
16 emissions from the subject vehicles were far worse than represented, and of its disregard of federal
17 and state law, Volkswagen falsely represented that its vehicles complied with federal and state
18 emissions standards, and that it was a reputable manufacturer whose representations could be
19 trusted.
20            Estoppel
21            72.   Volkswagen was under a continuous duty to disclose to Plaintiffs and SP’s the true
22 character, quality, and nature of emissions from the vehicles at issue, and of those vehicles’
23 emissions systems, and of the compliance of those systems with applicable federal and state law.
24            73.   Volkswagen knowingly, affirmatively, and actively concealed the true nature, quality,
25 and character of the emissions systems, and the emissions, of the vehicles at issue.
26            74.   Volkswagen was also under a continuous duty to disclose to Plaintiffs and SPs that it
27 had engaged in the scheme complained of herein to evade federal and state emissions and clean air

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 1 standards, and that it systematically devalued compliance with, and deliberately flouted, federal and
 2 state laws regulating vehicle emissions and clean air.
 3           75.     Based on the foregoing, Volkswagen is estopped from relying on any statutes of
 4 limitations in defense of this action.
 5                                         CLASS ACTION ALLEGATIONS
 6           76.     Plaintiffs bring Causes of Action I-IV as a class action on behalf of themselves and
 7 all others similarly situated pursuant to Federal Rule of Civil Procedure (“FRCP”) 23. The Class

 8 that Plaintiffs seek to represent is defined as follows:
 9           All individuals who were qualified to receive or received incentive compensation from
             any of Defendants for selling Volkswagen automobiles in the United States during the
10           time period beginning when Defendants’ defeat device scheme was revealed and
             extending through the present, excluding individuals who did not sell any Volkswagen
11           automobiles for incentive compensation prior to October 1, 2015 (herein referred to as the
             “Class”).
12
             77.     This action has been brought and may properly be maintained as a class action under
13
     FRCP 23 because there is a well-defined community of interest in the litigation and the proposed
14
     class is easily ascertainable.
15
                     a.      Numerosity: The potential members of the Class as defined are so numerous
16
             that joinder of all the members of the Class is impracticable.
17
                     b.      Commonality: There are questions of law and fact common to Plaintiffs and
18
             the Class that predominate over any questions affecting only individual members of the
19
             Class. These common questions of law and fact include, but are not limited to:
20
                              i. Whether Defendants sold Defective Vehicles in the United States by using
21
                     defeat devices to fool regulators by misrepresenting the amount of pollutants the
22
                     Defective Vehicles emitted during normal use;
23
                             ii.       Whether Defendants designed, manufactured, advertised, marketed,
24
                     distributed, leased, sold, or otherwise placed the Defective Vehicles into the stream of
25
                     commerce in the United States;
26
                            iii.       Whether Defendants knew or should have known about the defeat
27
                     device and the emission levels in the Defective Vehicles;
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 1                      iv.     Whether Defendants entered into contracts with SPs to pay incentive
 2               compensation for the sale of Defendants’ automobiles;
 3                      v.      Whether Defendants breached the covenant of good faith and fair
 4               dealing implied in their contracts with SPs by providing Defective Vehicles for sale;
 5                      vi.     Whether Defendants made material misrepresentations regarding the
 6               nature of the Defective Vehicles to SPs;
 7                     vii.     Whether Defendants omitted, actively concealed, and/or failed to
 8               disclose material facts about the Defective Vehicles to SPs;
 9                    viii.     Whether Defendants’ concealment of the true nature of the Defective
10               Vehicles would have induced a reasonable SP to act to their detriment by agreeing to
11               sell Defective Vehicles;
12                      ix.     Whether Defendants knew or should have known that SPs were in
13               economic relationships with third parties that would have resulted in economic
14               benefits to SPs tied to the sale of Volkswagen automobiles;
15                      x.      Whether Defendants knew or should have known that the SPs’
16               economic relationships with third parties would be disrupted if Defendants failed to
17               act with reasonable care in complying with emissions regulations and common law
18               and statutory laws protecting consumers;
19                      xi.     Whether Defendants’ wrongful conduct was a substantial factor in
20               reduced sales of Volkswagen automobiles;
21                     xii.     Whether reduced sales of Volkswagen automobiles caused SPs harm
22               in their economic relations with third parties;
23                    xiii.     Whether Defendants’ conduct violated RICO and the other laws
24               alleged herein; and
25                    xiv.      Whether Plaintiffs and Class members are entitled to damages and
26               other monetary relief and, if so, in what amount.
27               c.     Typicality:     Plaintiffs’ claims are typical of the claims of the Class.

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 1         Defendant’s common course of conduct in violation of law as alleged herein has caused
 2         Plaintiffs and proposed Class members to sustain the same or similar injuries and damages.
 3         Plaintiffs’ claims are thereby representative of and co-extensive with the claims of the Class.
 4                d.      Adequacy of Representation: Plaintiffs are members of the Class, do not
 5         have any conflicts of interest with other proposed Class members, and will prosecute the case
 6         vigorously on behalf of the Class.        Counsel representing Plaintiffs is competent and
 7         experienced in litigating large employment class actions, including wage and hour class
 8         actions. Plaintiffs will fairly and adequately represent and protect the interests of the Class
 9         members.
10                e.      Superiority of Class Action: A class action is superior to other available
11         means for the fair and efficient adjudication of this controversy. Individual joinder of all
12         proposed Class members is not practicable, and questions of law and fact common to the
13         Class predominate over any questions affecting only individual members of the Class. Each
14         proposed Class member has been damaged and is entitled to recovery by reason of
15         Defendants’ illegal policies and/or practices.      Class action treatment will allow those
16         similarly situated persons to litigate their claims in the manner that is most efficient and
17         economical for the parties and the judicial system. The injury suffered by each Class
18         member, while meaningful on an individual basis, is not of such magnitude as to make the
19         prosecution of individual actions against Defendants economically feasible. Individualized
20         litigation increases the delay and expense to all Parties and the Court. By contrast, class
21         action treatment will allow those similarly situated persons to litigate their claims in the
22         manner that is most efficient and economical for the parties and the judicial system.
23         78.    In the alternative, the Class may be certified because the prosecution of separate
24 actions by the individual members of the Class would create a risk of inconsistent or varying
25 adjudication with respect to individual members of the Class, and, in turn, would establish
26 incompatible standards of conduct for Defendants.
27 / / /

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 1                                            FIRST CAUSE OF ACTION
 2                                             BREACH OF CONTRACT
 3           (On Behalf of the Class Against Defendants Volkswagen Group of America, Inc., and
 4                                                   Volkswagen AG)
 5         79.        Plaintiffs repeat and re-allege the contents of all preceding paragraphs as if fully set
 6 forth at length.
 7         80.        SPs, including Plaintiffs, entered into contracts with VW America pursuant to which
 8 they were to complete various trainings to obtain a certification to sell Volkswagen automobiles.
 9         81.        The contract entitled SPs, including Plaintiffs, to receive incentive compensation
10 from VW America for each Volkswagen automobile he sold. Plaintiff Saavedra entered his contract
11 with VW America in or around 2010. Plaintiff Rodriguez entered his contract with VW America in
12 or around 2010. Plaintiff Gaines entered into his contract with VW America in or around 2011.
13      82. Moreover, VW America has entered into a contractual agreement with SPs including
14         Plaintiffs whereby such individuals interface with customers as their agents and are
15         subsequently compensated for such efforts based upon CSI scores.
16         83.        VW America was aware that SPs, including Plaintiffs, received other income for
17 selling Volkswagen automobiles from other sources.
18         84.        Pursuant to such contract, VW America is compelled to perform its obligations in
19 accordance with its terms, conditions and covenants, industry standards, and custom and practice.
20         85.        Plaintiffs and the SPs have performed all conditions, covenants and promises required
21 of it to be performed in accordance with the terms and conditions of the Contract, except for those
22 conditions, covenants and promises of which performance has been legally excused.
23         86.        Plaintiffs and the SPs are now and has been ready, willing and able to perform under
24 the terms and conditions required of it in accordance with the Contract and has offered, and
25 continues to offer, to perform them, except those that are excused by Defendants' breach of the
26 Contract, or otherwise.
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 1          87.     VW America breached the Agreement by, inter alia, interfering with the ability of
 2 Plaintiffs and the Class to earn bonus and incentive payments.
 3          88.     The covenant of good faith and fair dealing is implied in all contracts. Here, the
 4 covenant of good faith and fair dealing precludes VW America from engaging in conduct
 5 (particularly, illegal conduct) that interferes with the rights of SPs, including Plaintiffs, to enjoy the
 6 fruits of the contract, i.e., the incentive payments and/or other bonus payments or commissions or
 7 otherwise that they earn for selling Volkswagen automobiles.

 8          89.     VW America breached its implied promise of good faith and fair dealing by engaging
 9 in the conduct alleged herein, all of which unfairly interfered with the rights of SPs, including
10 Plaintiffs, to receive the benefit of their contracts with VW America. VW America marketed and
11 sold, through unwitting SPs, vehicles that did not comply with emission laws and regulations in the
12 United States. VW America then actively concealed its fraud from government regulators,
13 consumers, and SPs alike. In so doing, VW America damaged its brand reputation and destroyed its
14 goodwill among consumers, all of which hindered SPs', including Plaintiffs', ability to sell
15 Volkswagen vehicles and earn the incentive payments promised under the contract.
16          90.     As a result of Volkswagen's conduct, SPs were duped into obtaining certification to
17 sell Volkswagen's automobiles and selling cars that could not lawfully be sold or operated in the
18 United States. When it became known that Volkswagen, through its unwitting SPs, had been selling
19 Defective Vehicles, Volkswagen sales plummeted and SPs were left to suffer the consequences.
20          91.     VW America was aware that its breach of contract would inhibit SPs, including
21 Plaintiffs, from selling Volkswagen automobiles and receiving the promised incentive payments for
22 those sales. VW America was also aware that SPs, including Plaintiffs, would lose compensation
23 from other sources as a result of the breach.
24          92.     Because VW America breached the implied covenant of good faith and fair dealing in
25 its contract to SPs by providing unmarketable vehicles for sale, SPs, including Plaintiffs, suffered
26 concrete economic losses in the form of lost incentive payments. SPs, including Plaintiffs, are
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 1 continuing to suffer consequential damages. SPs, including Plaintiffs, have suffered damages in an
 2 amount to be proven at the time of trial.
 3                                        SECOND CAUSE OF ACTION
 4                        Negligent Interference with Prospective Economic Advantage
 5                                (On Behalf of the Class Against All Defendants)
 6           93.    Plaintiffs re-allege and incorporate the foregoing paragraphs as though fully set forth
 7 herein.

 8           94.    SPs, including Plaintiffs, were in economic relationships with third parties whereby
 9 they received compensation for selling Volkswagen automobiles separate and apart from the
10 compensation they received from Defendants.
11           95.    To note, however, the existence of a legally binding agreement is not a sine qua non
12 to the maintenance of a suit based on the inclusive wrong of interference with economic
13 relationships.
14           96.    Defendants knew, or should have known, of this relationship.              Specifically,
15 Defendants knew, or should have known, that the incentive payments from VW America were not
16 the only compensation SPs, including Plaintiffs, received for selling Volkswagen automobiles.
17           97.    Defendants engaged in wrongful conduct by perpetrating a fraud against regulators,
18 consumers, SPs, and the public at large by equipping Defective Vehicles with defeat devices
19 intended to falsify emissions tests.
20           98.    Through engaging in this conduct, Defendants failed to exercise reasonable care.
21           99.    Defendants knew, or should have known, that this failure to exercise reasonable care
22 would cause the sales of Volkswagen automobiles to plummet if, and when, the true facts became
23 public.
24           100.   Furthermore, Defendants knew, or should have known, that a substantial decrease in
25 Volkswagen sales would disrupt the economic relationships SPs, including Plaintiffs, have with third
26 parties, causing SPs, including Plaintiffs, to suffer damages.
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 1          101.   Defendants wrongful conduct was a substantial factor in causing damages to SPs,
 2 including Plaintiffs, in the form of lost compensation flowing from decreased sales of Volkswagen
 3 automobiles. SPs, including Plaintiffs, have suffered a substantial decrease in compensation from
 4 third parties since the fraud became public. This loss is continuous and ongoing. SPs, including
 5 Plaintiffs, have suffered damages in an amount to be proven at the time of trial.
 6                                        THIRD CAUSE OF ACTION
 7                                                    FRAUD
 8                               (On Behalf of the Class Against All Defendants)
 9          102.   Plaintiffs repeat and re-allege the contents of all preceding paragraphs as if fully set
10 forth at length. Defendants have continuously engaged in numerous acts and omissions that
11 constitute fraudulent concealment.
12          103.   Volkswagen intentionally concealed that the Clean Diesel engine systems were not
13 EPA-compliant and used a “defeat device,” or acted with reckless disregard for the truth, and denied
14 Plaintiffs and the other Class members information that is highly relevant to their business decisions
15 to sell VW vehicles and/or maintain their position as SPs.
16          104.   Volkswagen further affirmatively misrepresented to Plaintiffs and SPs in advertising
17 and other forms of communication, including standard and uniform material, that the Defective
18 Vehicles being sold by the SPs had no significant defects, complied with EPA regulations and would
19 perform and operate properly when driven in normal usage.
20          105.   As has been admitted by Defendants, Volkswagen knew these representations were
21 false when made.
22          106.   The Defective Vehicles sold by Plaintiffs and the SPs were, in fact, defective, non-
23 EPA-compliant, unsafe, and unreliable because the Defective Vehicles contained faulty and
24 defective Clean Diesel engine systems, as alleged herein.
25          107.   Volkswagen had a duty to be truthful and to disclose that these Defective Vehicles
26 were defective, non-EPA compliant and unreliable in that certain crucial emissions functions of the
27 Defective Vehicles would be rendered inoperative due to the “defeat device” installed in the

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 1 defective Clean Diesel engine system, because Plaintiffs and the SP’s relied on Volkswagen’s
 2 material representations that the Defective Vehicles they were selling for commission were
 3 environmentally clean, efficient and free from defects.
 4          108.   The aforementioned concealment was material because if it had been disclosed,
 5 Plaintiffs and the other Class members would not have sold the VW vehicles and would not maintain
 6 positions as VW Commissioned Vehicle Sales Representatives.
 7          109.   The aforementioned representations were material because they were facts that would
 8 typically be relied on by a person serving as a commissioned sales representative. Volkswagen
 9 knew or recklessly disregarded that its representations were false because it knew that it had to use
10 the “defeat device” in order for Defective Vehicles to pass EPA emissions requirements.
11 Volkswagen intentionally made the false statements in order to sell Defective Vehicles through
12 Plaintiffs and other SPs.
13          110.   Plaintiffs and the other SPs relied on Volkswagen’s reputation – along with
14 Volkswagen’s failure to disclose the faulty and defective nature of the Clean Diesel engine system
15 and Volkswagen’s affirmative assurance that its Defective Vehicles were safe and reliable, and other
16 similar false statements.
17          111.   As a result of their reliance, Plaintiffs and the other SPs have been injured in an
18 amount to be proven at trial, including, but not limited to, their diminished sales commissions.
19          112.   Volkswagen’s conduct was knowing, intentional, with malice, demonstrated a
20 complete lack of care, and was in reckless disregard for the rights of Plaintiffs and the SPs.
21 Plaintiffs and the other SPs are therefore entitled to an award of punitive damages.
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 1                                        FOURTH CAUSE OF ACTION
 2                                       Violation of 18 U.S.C. § 1962(c)-(d)
 3                    The Racketeer Influenced and Corrupt Organizations Act (“RICO”)
 4            (On Behalf of the Class Against VW AG, Audi AG, Porsche AG, Winterkorn, Müller,
 5                                               Stadler, and Bosch)
 6           113.   Plaintiffs re-allege and incorporate the foregoing paragraphs as though fully set forth
 7 herein.

 8           114.   Plaintiffs brings this cause of action on behalf of the Class against the following
 9 Defendants: VW AG, Audi AG, Porsche AG, Winterkorn, Müller, Stadler, and Bosch (“RICO
10 Defendants”).
11           115.   Volkswagen conducts its business through various affiliates and subsidiaries, each of
12 each is a separate legal entity. Bosch also conducts its business through subsidiaries and affiliates.
13 At all relevant times, the RICO Defendants have been “persons” under 18 U.S.C. § 1961(3) because
14 they are capable of holding, and do hold, “a legal or beneficial interest in property.”
15           116.   Section 1962(c) makes it “unlawful for any person employed by or associated with
16 any enterprise engaged in, or the activities of which affect, interstate or foreign commerce, to
17 conduct or participate, directly or indirectly, in the conduct of such enterprise’s affairs through a
18 pattern of racketeering activity.” 18 U.S.C. § 1962(c).
19           117.   Section 1962(d) makes it unlawful for “any person to conspire to violate” Section
20 1962(c), among other provisions. See 18 U.S.C. § 1962(d).
21           118.   The RICO Defendants sought to increase their sales of Defective Vehicles in an effort
22 to increase their profits and market share. To do this, the RICO Defendants ultimately relied on an
23 unlawful scheme devised by VW AG, Audi AG, and/or Porsche AG, implemented in the United
24 States by VW America, Audi of America, LLC (“Audi America”), and/or Porsche Cars North
25 America, Inc. (“Porsche America”), and executed with the complicity of Bosch.               The RICO
26 Defendants, along with other entities and individuals, were employed by or associated with, and
27 conducted or participated in the affairs of, one or several RICO enterprises whose purpose was to

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 1 deceive regulators, SPs, and the public into believing the Defective Vehicles were compliant with
 2 emission standards, “clean,” and environmentally friendly so as to increase profits from the design,
 3 manufacture, distribution, and sale of the Defective Vehicles and the “defeat devices” installed
 4 therein.
 5          119.   While perpetrating this unlawful scheme, Volkswagen certified SPs to sell
 6 Volkswagen automobiles. SPs were not aware of the unlawful scheme undertaken by Volkswagen
 7 and the RICO Defendants. Moreover, SPs were compensated for selling Volkswagen automobiles.

 8 Because Volkswagen engaged in unlawful practices, and because that scheme came to light, SPs
 9 suffered from a severe public backlash. Volkswagen sales plummeted, resulting in a sharp decrease
10 in the compensation SPs received, including in incentive compensation from Volkswagen and
11 compensation from other sources. The financial loss suffered by SPs, and the devaluation of the
12 business of the SPs and their certifications from Volkswagen, as a result of the unlawful enterprise is
13 concrete and measurable because the downturn in sales resulted in a decrease in this compensation.
14          The RICO Enterprise
15          120.   VW AG controls VW America, a United States subsidiary. VW AG also controls
16 Audi AG and Porsche AG, each of which formed separate United States subsidiaries – Audi
17 America and Porsche America, respectively. At all times, on information and belief, VW AG
18 maintained control over the design, manufacture, and testing of the Defective Vehicles.
19          121.   The RICO Defendants, along with other individuals and entities, including unknown
20 third parties involved in the design, manufacture, testing, and sale of the Defective Vehicles,
21 operated an association-in-fact enterprise, which was formed for the purpose of fraudulently
22 obtaining COCs from the EPA to import and sell Defective Vehicles containing “defeat devices”
23 throughout the United States, and through which they conducted a pattern of racketeering activity
24 under 18 U.S.C. § 1961(4).
25          122.   In the alternative, each of VW America, Audi America, and Porsche America
26 constitutes a single legal entity “enterprise” within the meaning of 18 U.S.C. § 1961(4), through
27 which the RICO Defendants conducted their pattern of racketeering activity in the United States

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 1 Specifically, on information and belief, VW America is the entity through which Volkswagen
 2 applied for, and obtained, the EPA COCs for the VW- and Audi-branded Defective Vehicles with
 3 material misrepresentations and omissions about their specifications in order to introduce them into
 4 the United States stream of commerce. Similarly, on information and belief, Porsche America is the
 5 entity through which Volkswagen applied for, and obtained, the EPA COCs for the Porsche-branded
 6 Defective Vehicles with material misrepresentations and omissions about their specifications in
 7 order to introduce them into the United States stream of commerce. And, on information and belief,

 8 VW AG, Audi AG, Porsche AG, and Individual Volkswagen Defendants (Winterkorn, Müller, and
 9 Stadler) used each of VW America, Audi America, and Porsche America to distribute and sell the
10 illegal Defective Vehicles throughout the United States. Finally, Bosch participated, either directly
11 or indirectly, in the conduct of the enterprise’s affairs by customizing and supplying components for
12 the “defeat devices”. The separate legal statuses of VW America, Audi America, and Porsche
13 America facilitated the fraudulent scheme and provided a hoped-for shield from liability for the
14 RICO Defendants and their co-conspirators.
15          123.   At all relevant times, the enterprise described above constituted a single “enterprise”
16 or multiple enterprises within the meaning of 18 U.S.C. § 1961(4), as legal entities, as well as
17 individuals and legal entities associated-in-fact for the common purpose of engaging in RICO
18 Defendants’ profit-making scheme.
19          124.   On information and belief, the association-in-fact enterprise consisted of: (1) the
20 Volkswagen entity Defendants (VW AG, Audi AG, Porsche AG, VW America, Audi America, and
21 Porsche America), each of which is a distinct legal entity but each of which is controlled (directly or
22 indirectly) by VW AG; (2) the directors and officers of the Volkswagen entity defendants (including
23 Defendants Winterkorn, Müller, and Stadler); and (3) Bosch, which worked with Volkswagen to
24 develop and implement a specific and unique set of software algorithms to surreptitiously evade
25 emissions regulations and knew or recklessly disregarded that the Defective Vehicles used Bosch’s
26 component part as “defeat devices” to evade federal and state vehicle emission standards.
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 1          The Enterprise Sought to Increase RICO Defendants’ Profits and Revenues
 2          125.    The RICO enterprise began in or before 2009, with Volkswagen’s decision to
 3 produce illegal Defective Vehicles for sale in the United States.         The “Defeat Device” RICO
 4 Enterprise continued without interruption until at least the fall of 2015, when United States
 5 regulators finally uncovered the fraudulent scheme.
 6          126.    At all relevant times, the enterprise: (1) had an existence separate and distinct from
 7 each RICO Defendant; (2) was separate and distinct from the pattern of racketeering in which the

 8 RICO Defendants engaged; and (3) was an ongoing and continuing organization consisting of legal
 9 entities, including the Volkswagen entity Defendants, the individual Defendants, Bosch, and other
10 entities and individuals associated for the common purpose of designing, manufacturing,
11 distributing, testing, and selling the Defective Vehicles to consumers through fraudulent COCs, false
12 emissions tests, deceptive and misleading sales tactics and materials, and deriving profits and
13 revenues from those activities. Each member of the enterprise shared in profits derived from
14 increased sales revenue generated by the scheme.
15          127.    The enterprise functioned by selling Defective Vehicles to the consuming public.
16 Many of the RICO Defendants’ products are legitimate, including vehicles that do not contain
17 “defeat devices”. However, the RICO Defendants and their co-conspirators, through their illegal
18 enterprise, engaged in a pattern of racketeering activity, which involved a fraudulent scheme to
19 increase revenue for the RICO Defendants and the other entities and individuals associated-in-fact
20 with the enterprise’s activities through the illegal scheme to sell the Defective Vehicles.
21          128.    The enterprise engaged in, and its activities affected interstate and foreign commerce,
22 because it involved commercial activities across state boundaries, such as the marketing, promotion,
23 advertisement and sale or lease of the Defective Vehicles throughout the country, and the receipt of
24 monies from the sale of the same.
25          129.    On information and belief, within the enterprise, there was a common communication
26 network by which co-conspirators shared information on a regular basis. On information and belief,
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 1 the enterprise used this common communication network for the purpose of manufacturing,
 2 marketing, testing, and selling the Defective Vehicles to the general public nationwide.
 3          130.   Each participant in the enterprise had a systematic linkage to each other through
 4 corporate ties, contractual relationships, financial ties, and continuing coordination of activities.
 5 Through the enterprise, the RICO Defendants functioned as a continuing unit with the purpose of
 6 furthering the illegal scheme and their common purposes of increasing their revenues and market
 7 share, and minimizing losses.

 8          131.   The RICO Defendants participated in the operation and management of the enterprise
 9 by directing its affairs, as described herein. While the RICO Defendants participated in, and are
10 members of, the enterprise, they have a separate existence from the enterprise, including distinct
11 legal statuses, different offices and roles, bank accounts, officers, directors, employees, individual
12 personhood, reporting requirements, and financial statements.
13          132.   Volkswagen exerted substantial control over the enterprise, and participated in the
14 affairs of the enterprise by: (1) designing Defective Vehicles with “defeat devices”; (2)
15 manufacturing, distributing, and selling Defective Vehicles that emitted pollutants at unlawful
16 levels; (3) introducing Defective Vehicles into the stream of United States commerce without valid
17 EPA COCs; (4) concealing the existence of “defeat devices” and the unlawfully high emissions from
18 regulators, SPs, and the public; (5) designing and distributing marketing materials that
19 misrepresented and concealed the defects in the Defective Vehicles; and (6) ensuring that other
20 RICO Defendants complied with the fraudulent scheme.
21          133.   Bosch participated in, operated, and/or directed the enterprise. Bosch manufactured,
22 installed, tested, modified, and supplied the EDC system to include a “defeat device” in Defective
23 Vehicles. Furthermore, Bosch participated by concealing the truth about the Defective Vehicles and
24 collecting revenues and profits from the same.
25          134.   Without the RICO Defendants’ willing participation, including Bosch’s provision of
26 the component parts for the “defeat devices” contained in the Defective Vehicles, the enterprise’s
27 scheme and common course of conduct would not have been successful.

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 1          135.   The RICO Defendants directed and controlled the ongoing organization necessary to
 2 implement the scheme at meetings and through communications of which Plaintiffs cannot fully
 3 know at present, because such information lies in the Defendants’ and others’ hands.
 4          Predicate Acts – Wire Fraud
 5          136.   To carry out, or attempt to carry out the scheme, the RICO Defendants, each of whom
 6 is a person associated-in-fact with the enterprise, did knowingly conduct or participate, directly or
 7 indirectly, in the conduct of the affairs of the enterprise through a pattern of racketeering activity

 8 within the meaning of 18 U.S.C. §§ 1961(1), 1961(5) and 1962(c), and which employed the use of
 9 the wire facilities, in violation of 18 U.S.C. § 1343 (wire fraud).
10          137.   Specifically, the RICO Defendants have committed, conspired to commit, and/or
11 aided and abetted in the commission of, at least two predicate acts of racketeering activity (i.e.,
12 violations of 18 U.S.C. § 1343), within the past ten years. The multiple acts of racketeering activity
13 which the RICO Defendants committed, or aided or abetted in the commission of, were related to
14 each other, posed a threat of continued racketeering activity, and therefore constitute a “pattern of
15 racketeering activity.”
16          138.   The RICO Defendants used, directed the use of, and/or caused to be used, numerous
17 interstate wire communications, including television and radio communications, in service of their
18 scheme through virtually uniform misrepresentations, concealments and material omissions.
19          139.   In devising and executing the illegal scheme, the RICO Defendants devised and
20 intentionally carried out a scheme and/or artifice to defraud consumers or to obtain money from
21 consumers by means of materially false or fraudulent pretenses, representations, promises, or
22 omissions of material facts. For the purpose of executing the illegal scheme, the RICO Defendants
23 committed these racketeering acts intentionally and knowingly with the specific intent to advance
24 the illegal scheme.
25          140.   The RICO Defendants’ predicate acts of racketeering (18 U.S.C. §1961(1)) include,
26 but are not limited to wire fraud: The RICO Defendants violated 18 U.S.C. §1343 by transmitting
27 and/or receiving, or by causing to be transmitted and/or received, materials, including

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 1 advertisements, by wire for the purpose of executing the unlawful scheme to defraud and obtain
 2 money on false pretenses, misrepresentations, promises, and omissions.
 3         141.    On information and belief, the RICO Defendants’ use of the wires include, but is not
 4 limited to, the transmission of the following by the RICO Defendants or third parties that were
 5 foreseeably caused to be sent as a result of RICO Defendants’ illegal scheme: (1) fraudulent
 6 applications for EPA COCs; (2) fraudulently obtained EPA COCs; (3) sales and marketing materials,
 7 including advertising, websites, product packaging, brochures, and labeling, that misrepresented and

 8 concealed the true nature of the Defective Vehicles; and (4) other documents and things, including
 9 electronic communications.
10         142.    The RICO Defendants also used television, the internet, and other electronic facilities
11 to carry out the scheme and conceal the ongoing fraudulent activities. Specifically, Volkswagen
12 made misrepresentations about the Defective Vehicles on their websites, YouTube, and through
13 advertisements made on various platforms, including on the internet and on television, all of which
14 were intended to mislead regulators and the public about the fuel efficiency, emissions standards,
15 and other performance metrics. For example: (1) Volkswagen caused a commercial to be aired
16 during the Super Bowl, and thereafter over the internet, on February 7, 2010 touting the “Audi A3
17 TDI clean diesel” as the “Green Car of the Year”; and (2) Volkswagen caused a commercial to be
18 aired via television and/or the internet in or around early 2015 advertising the Volkswagen Golf TDI
19 clean diesel to disprove the “old wives tale” that “diesel is dirty” by holding a white scarf to the
20 exhaust pipe.        On information and belief, Volkswagen made comprehensive further
21 misrepresentations in other wire advertising, including television and internet advertising, and in
22 wire communications, including applications for COCs from regulators.
23         143.    The wire transmissions described herein were made in furtherance of the RICO
24 Defendants’ scheme and common course of conduct to deceive regulators, SPs, and consumers alike
25 to further the sales of Defective Vehicles, which the RICO Defendants knew, or recklessly
26 disregarded, were emitting illegal amounts of pollution.
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 1            144.   Many of the precise dates of the fraudulent uses of the interstate wire facilities cannot
 2 be alleged without access to the RICO Defendants’ books and records. However, Plaintiffs has
 3 described the types of, and in some instances, occasions on which the predicate acts of wire fraud
 4 occurred. On information and belief, they include thousands of communications to perpetuate and
 5 maintain the scheme, including the things and documents described in the preceding paragraphs.
 6            145.   The RICO Defendants have undertaken the practices described herein as part of a
 7 common scheme and conspiracy in violation of 18 U.S.C. § 1962(d). On information and belief,

 8 various other persons, firms and corporations, including third-party entities and individuals not
 9 named as Defendants in this Complaint, have participated as co-conspirators with the RICO
10 Defendants in these offenses and have performed acts in furtherance of the conspiracy to increase or
11 maintain revenues, increase market share, and/or minimize losses for the Defendants and their
12 unnamed co-conspirators throughout the illegal scheme and common course of conduct.
13            146.   The RICO Defendants aided and abetted others in the violations of the above laws,
14 thereby rendering them indictable as principals in the 18 U.S.C. § 1343 offenses.
15            147.   On information and belief, the RICO Defendants and each member of the conspiracy,
16 with knowledge and intent, have agreed to the overall objectives of the conspiracy and participated
17 in the common course of conduct to commit acts of fraud and indecency in designing,
18 manufacturing, distributing, marketing, testing, and/or selling the Defective Vehicles (and the
19 “defeat devices” contained therein).
20            148.   For the conspiracy to succeed, each of the RICO Defendants and their coconspirators
21 had to agree to implement and use the similar devices and fraudulent tactics against their intended
22 targets.
23            149.   The RICO Defendants knew and intended that government regulators, consumers,
24 and Plaintiffs and Class members, would rely on the material misrepresentations and omissions
25 made by them about the Defective Vehicles. As fully alleged herein, Plaintiffs relied upon RICO
26 Defendants’ representations and omissions that were made or caused by them in staking his business
27 and economic well-being to the success of the RICO Defendants. In addition, the EPA and other

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 1 regulators relied on the misrepresentations and material omissions made or caused to be made by the
 2 RICO Defendants; otherwise Volkswagen could not have obtained valid COCs to sell the Defective
 3 Vehicles.
 4           150.     As described herein, the RICO Defendants engaged in a pattern of related and
 5 continuous predicate acts for years.          The predicate acts also had the same or similar results,
 6 participants, victims, and methods of commission. The predicate acts were related and not isolated
 7 events.

 8           151.     The predicate acts all had the purpose of generating significant revenue and profits
 9 for the RICO Defendants. On information and belief, the RICO Defendants shared technical,
10 marketing, and financial information that revealed the existence of the “defeat devices” contained in
11 the Defective Vehicles during the design, manufacture, testing, marketing and sale of those vehicles.
12 Nevertheless, the RICO Defendants shared and disseminated information that deliberately
13 misrepresented the Defective Vehicles as legal, “clean,” environmentally friendly, and fuel efficient.
14           Injury
15           152.     By reason of, and as a result of the conduct of the RICO Defendants, and in
16 particular, their pattern of racketeering activity, Plaintiffs and Class members have been injured in
17 their business and/or property in multiple ways. This includes, without limitation, lost compensation
18 (including commissions and guaranteed incentive payments) due to the decreased sales of
19 Volkswagen automobiles since the fall of 2015. The financial loss suffered by SPs as a result of the
20 unlawful enterprise, and the devaluation of the business of the SPs, is concrete and measurable
21 because the downturn in sales resulted in a decrease in incentive payments and other compensation
22 tied to the sale of Volkswagen automobiles.
23                                             PRAYER FOR RELIEF
24      WHEREFORE, Plaintiffs pray for relief as follows:
25           1.       Compensatory damages and treble damages under in amounts to be proven at trial;
26           2.       For general and special damages;
27           3.       For all costs of suit;

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 1         4.    An award of costs and attorneys’ fees, as allowed by law;
 2         5.    Any and all applicable statutory and civil penalties;
 3         6.    For pre- and post-judgment interest, as allowed by law; and
 4         7.    For such other and further relief as this Court deems just and proper.
 5
 6                                             Respectfully submitted,
 7   Date: May 22, 2018
 8                                             /s/ Carolyn Hunt Cottrell
                                               Carolyn Hunt Cottrell
 9
                                               Todd M. Schneider
10                                             Carolyn Hunt Cottrell
                                               SCHNEIDER WALLACE COTTRELL
11                                             KONECKY WOTKYNS LLP
12
                                               Attorneys for Saavedra Plaintiffs and the proposed
13                                             Class

14   Date: May 22, 2018
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15                                             Raymond P. Boucher
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17                                             Maria L. Weitz
                                               BOUCHER LLP
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                                               Attorneys for Saavedra Plaintiffs and the proposed
19
                                               Class
20   Date: May 22, 2018
21                                             /s/ Kiley Lynn Grombacher
                                               Kiley Lynn Grombacher
22
                                               Marcus J. Bradley
23
                                               Kiley L. Grombacher
24                                             BRADLEY/GROMBACHER, LLP

25                                             Attorneys for Gaines Plaintiff and the proposed Class
26
27

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 1                                     SIGNATORY ATTESTATION
 2          The e-filing attorney hereby attests that concurrence in the content of the foregoing document
 3 and authorization to file the foregoing document has been obtained from the other signatories
 4 indicated by a conformed signature (/s/) within the foregoing e-filed document.
 5    Date: May 22, 2018                           /s/ Kiley Lynn Grombacher
 6                                                 Kiley Lynn Grombacher

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 8
                                        CERTIFICATE OF SERVICE
 9
            I hereby certify that I caused the foregoing document to be electronically filed with the Clerk
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     of the Court for the United States District Court, Northern District of California, in In Re:
11
     Volkswagen “Clean Diesel” Marketing, Sales Practices, and Products Liability Litigation (Case No.
12
     3:15-md-02672-CRB) by using the Court’s CM/ECF system on May 22, 2018. Service will be
13
     accomplished by the Court’s CM/ECF system.
14
15
      Date: May 22, 2018                           /s/ Kiley Lynn Grombacher
16                                                 Kiley Lynn Grombacher
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